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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                               )    Chapter 7
    In re:                                                     )
                                                               )    Case No. 23-10576 (TMH)
    CHRISTMAS TREE SHOPS, LLC, et al.,1                        )
                                                               )    (Jointly Administered)
                                                               )
                                      Debtors.                 )    Ref. Docket Nos. 555, 556
                                                               )
                                                                                Objection Deadline: At the hearing
                                                                   Hearing Date: August 31, 2023 at 11:00 a.m. (ET)

              NOTICE OF HEARING REGARDING CHAPTER 7 TRUSTEE’S
             EMERGENCY MOTION PURSUANT TO SECTION 362 AND 542 OF
             THE BANKRUPTCY CODE TO COMPEL TURNOVER OF ESTATE
                  PROPERTY AND ENFORCE THE AUTOMATIC STAY

                   PLEASE TAKE NOTICE that on August 29, 2023, George L. Miller, the chapter

7 trustee (the “Trustee”) of the above-captioned debtors (collectively, the “Debtors”), filed the

Chapter 7 Trustee’s Emergency Motion Pursuant to Section 362 and 542 of the Bankruptcy Code

to Compel Turnover of Estate Property and Enforce the Automatic Stay [Docket No. 588] (the

“Motion”) and Chapter 7 Trustee’s Emergency Motion Pursuant to Section 362 and 542 of the

Bankruptcy Code to Compel Turnover of Estate Property and Enforce the Automatic Stay [Docket

No. 589] (the “Motion to Shorten”) with the United States Bankruptcy Court for the District of

Delaware, 824 North Market Street, 3rd Floor, Wilmington, Delaware 19801 (the “Bankruptcy

Court”). A copy of the Motion and Motion to Shorten were previously served upon you.

                   PLEASE TAKE FURTHER NOTICE that on August 29, 2023, the Bankruptcy

Court entered the Order Granting Motion to Shorten Notice and Schedule Expedited Hearing on

Chapter 7 Trustee’s Emergency Motion Pursuant to Section 362 and 542 of the Bankruptcy Code



1
      The Debtors in these chapter 7 cases and the last four digits of each Debtor’s U.S. tax identification number are
      as follows: Christmas Tree Shops, LLC (1207), Handil, LLC (1150), Handil Holdings, LLC (2891), Salkovitz
      Family Trust 2, LLC (8773), and Nantucket Distributing Co., LLC (1640).


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to Compel Turnover of Estate Property and Enforce the Automatic Stay [Docket No. 590] (the

“Order Shortening Notice”) on the Motion to Shorten. A copy of the Order Shortening Notice is

attached hereto as Exhibit A.

               PLEASE TAKE FURTHER NOTICE that any response or objection to the entry

of an order with respect to the relief sought in the Motion must be made at the hearing on August

31, 2023 at 11:00 a.m. (Eastern time).

               PLEASE TAKE FURTHER NOTICE that if you choose to file a written

response or objection prior to the hearing, you must at the same time serve a copy of the response

or objection upon: (a) counsel for the Trustee, Pachulski Stang Ziehl & Jones LLP, 919 N. Market

Street, 17th Floor, Wilmington, DE 19801 (Attn: Bradford J. Sandler and Colin R. Robinson)

bsandler@pszjlaw.com, crobinson@pszjlaw.com; (b) the U.S. Trustee; Benjamin A. Hackman,

Office of the United States Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE

19801, benjamin.a.hackman@usdoj.gov; and (c) all parties requesting notice pursuant to

Bankruptcy Rule 2002.

               PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

THE RELIEF SOUGHT IN THE MOTION WILL BE HELD ON AUGUST 31, 2023 AT

11:00 A.M. (EASTERN TIME) BEFORE THE HONORABLE THOMAS M. HORAN,

UNITED STATES BANKRUPTCY COURT JUDGE, AT THE UNITED STATES

BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 NORTH MARKET

STREET, 3RD FLOOR, COURTROOM NO. 5, WILMINGTON, DELAWARE 19801.
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Dated: August 29, 2023
                                   PACHULSKI STANG ZIEHL & JONES LLP

                                   /s/ Colin D. Robinson
                                   Bradford J. Sandler (DE Bar No. 4142)
                                   Colin R. Robinson (DE Bar No. 5524)
                                   Peter J. Keane (DE Bar No. 5503)
                                   Edward A. Corma (DE Bar No. 6718)
                                   919 North Market Street, 17th Floor
                                   P.O. Box 8705
                                   Wilmington, DE 19899-8705 (Courier 19801)
                                   Telephone: (302) 652-4100
                                   Facsimile: (302) 652-4400
                                   Email: bsandler@pszjlaw.com
                                           crobinson@pszjlaw.com
                                           pkeane@pszjlaw.com
                                           ecorma@pszjlaw.com

                                   Proposed Counsel for the Chapter 7 Trustee
